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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 JOHN DOE,                                           )
                                                     )
                              Plaintiff/Counter      )
                              Defendant,
                                                     )
                         v.                          )       No. 1:19-cv-01866-JPH-MJD
                                                     )
 INDIANA UNIVERSITY,                                 )
 G.G.,                                               )
                                                     )
                              Defendants/ Counter    )
                              Claimant.




                         MINUTE ENTRY FOR OCTOBER 4, 2019
                            SETTLEMENT CONFERENCE
                     HON. MARK J. DINSMORE, MAGISTRATE JUDGE


        The parties appeared in person and by counsel for a settlement conference. Settlement

 was not achieved.

        This matter is scheduled for a telephonic status conference on Friday, November 1,

 2019 at 3:00 p.m. (Eastern) to discuss case status. Counsel shall attend the status conference by

 calling the designated telephone number, to be provided by the Court via email generated by the

 Court’s ECF system.



        Dated: 4 OCT 2019
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